                   UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION


UNITED STATES OF AMERICA                      )       DOCKET NO. 3:03CR135-2-MU
                                              )
               v.                             )
                                              )       ORDER
VEDA PORRECA                                  )
                                              )
                                              )

       THIS MATTER is before the Court on Defendant’s Motion to Return Defendant

to Local Custody. The Court has reviewed Defendant’s motion, has considered the facts

and circumstances involved, and finds good cause to grant said motion.

       NOW, THEREFORE, IT IS ORDERED that Defendant’s motion is granted

and the Court vacates its Order of January 18, 2005, retaining Defendant in custody at

Carswell FMC in Forth Worth, Texas. The Court hereby Orders the Bureau of Prisons

and U.S. Marshals Office to transport Defendant from Carswell FMC and place her back

in local custody in the Charlotte area. The Clerk is ordered to certify copies of this Order

to the Bureau of Prisons and the United States Marshal.




Case 3:03-cr-00135-GCM-DCK              Document 85        Filed 09/19/05      Page 1 of 2
                       Signed: September 19, 2005




Case 3:03-cr-00135-GCM-DCK   Document 85            Filed 09/19/05   Page 2 of 2
